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     MGA Entertainment (HK) Limited,
  10 MGAE De Mexico, S.R.L. DE C.V., and
     Isaac Larian
  11
                        UNITED STATES DISTRICT COURT
  12
                      CENTRAL DISTRICT OF CALIFORNIA
  13                             EASTERN DIVISION
  14
  15 CARTER BRYANT, an individual            )   CASE NO. CV 04-9049 SGL (RNBx)
                                             )
  16                    Plaintiff,           )   Consolidated with Case No. 04-9059
                                             )   and Case No. 05-2727
  17        v.                               )
                                             )   DISCOVERY MATTER
  18 MATTEL, INC., a Delaware                )
     corporation                             )   [To be heard by Discovery Master
  19                                         )   Hon. Edward A. Infante (Ret.)]
                     Defendant.              )
  20                                         )   ERRATA TO:
                                             )
  21 Consolidated with MATTEL, INC. v.       )   ISAACLARIAN’SRESPONSE
     BRYANT and MGA                          )   TO MATTEL,INC.’SSEPARATE
  22 ENTERTAINMENT, INC. v.                  )   STATEMENT IN SUPPORT OF
     MATTEL, INC.                            )   MOTION TO COMPEL
  23                                         )   PRODUCTION OF DOCUMENTS
                                             )
  24
                                                 Hearing Date: TBD
  25                                             Time:         TBD
                                                 Place:        TBD
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  27
  28
       ERRATA TO: RESPONSETOMATTEL’
                                  SSEPARATESTATEMENTI
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       COMPEL
Case 2:04-cv-09049-DOC-RNB Document 1200 Filed 12/07/07 Page 2 of 2 Page ID #:5603



   1         On December 5, 2007, Isaac Larian filed in this court Isaac Larian's Response
   2 to Mattel, Inc.'s Separate Statement in Support of Motion to Compel Production of
   3 Documents. Due to an inadvertent error, heading II(A) was incorrectly positioned
   4 and formatted on page 2, and as a consequence, was omitted from the Table of
   5 Contents entirely.
   6         On page 2 the following heading:
   7         A.       Mr. Larian's Personal Financial Data: Requests Nos. 207-209 and
                      269
   8
       should appear, as formatted above, immediately before the following subheading:
   9
                      1.   Re
                            que
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  10
       The corrected heading should also appear in the corresponding location in the Table
  11
       of Contents.
  12
             For the convenience of the Court and Counsel of record, a revised page 2, and
  13
       Table of Contents including the properly positioned and formatted heading are
  14
       attached hereto as Exhibit A. We apologize for any inconvenience this may have
  15
       caused the Court or Counsel of record.
  16
  17
       DATED: December 7, 2007             SKADDEN, ARPS, SLATE, MEAGHER &
  18                                       FLOM, LLP
  19
  20                                       By:          /s/ Thomas J. Nolan
                                                        THOMAS J. NOLAN
  21
                                                Attorneys for Counter-Defendants,
  22                                             MGA ENTERTAINMENT, INC.,
                                            ISAAC LARIAN, MGA ENTERTAINMENT
  23                                         (HK) LIMITED, AND MGAE de MEXICO
                                                         S.R.L. de C.V.
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       ERRATA TO: RESPONSETOMATTEL’
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       COMPEL
